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                                 UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF IDAHO
                              (For Cases Initially Assigned to District Judge)


Cody J Schueler                                               )
                                                              )   Case No. 2:22−cv−00389−DCN
                         Plaintiff,                           )
                                                              )
                                                              )
                                                              )
vs.                                                           )   NOTICE OF AVAILABILITY OF A
                                                              )   UNITED STATES MAGISTRATE
                                                              )   JUDGE AND CONSENT FORM
Keith O Crews                                                 )
                                                              )
                         Defendant                            )
                                                              )
                                                              )
_______________________________________________


        In accordance with 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and District of Idaho General Order No.
324, you are notified that a United States Magistrate Judge of this District Court is available to exercise the
Court's jurisdiction and to conduct any or all proceedings in this case, including a jury or non−jury trial, and
entry of a final judgment. Exercise of this jurisdiction by a United States Magistrate Judge is available only
if all parties file a written consent, a copy of which is included in this notice.

       To ensure the efficient handling of this case, counsel who desire to consent to the assignment of this
case to a Magistrate Judge should return this form within 60 days of receipt to the Clerk of Court in .pdf
format to consents@id.uscourts.gov. The parties also may file a joint consent, similar to a stipulation, before
or after receiving this Notice. If you are a pro se litigant, you may mail this form to the following address:
U.S. District Court, 550 W. Fort St. Room 400, Boise, ID 83724. The Clerk of Court will take reasonable
steps to ensure voluntariness and confidentiality of the consent process. Any party may, without adverse
substantive consequences, withhold consent, which will require that a District Judge enter all final orders in
the case. The Clerk of Court will keep custody of all consent to proceed forms under seal until it is
determined whether all parties have consented to proceed before a Magistrate Judge. If consents are not
received from all parties, the case will remain with a District Judge. If all parties decide to consent to have
the case reassigned to a Magistrate Judge after the Rule 16.1 scheduling conference, the District Judge may
decide not to permit reassignment if it would not be an appropriate use of judicial resources.

      An appeal from a judgment entered by a United States Magistrate Judge will be directly to the United
States Court of Appeals for the Ninth Circuit in the same manner as an appeal from any other judgment of
this District Court. 28 U.S.C. § 636(c); Fed.R.Civ.P. 73.

                          CONSENT TO THE EXERCISE OF JURISDICTION
                           BY A UNITED STATES MAGISTRATE JUDGE

       In accordance with provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, the undersigned party to
this case consents to have a United States Magistrate Judge conduct any and all proceedings in this case,
including the trial, and order the entry of a final judgment.



Party Represented                       Signature                                         Date

_________________________               __________________________________              ____________
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                                THE CONSENT PROCESS: WHAT IS IT?

In accordance with 28 U.S.C. § 636(c), FRCP 73, and Local Rule 73.1, a Magistrate Judge is available to
preside over all aspects of this case, including the jurisdictional authority to:

        − Schedule, hear, and decide all dispositive and non−dispositive matters;
        − Schedule, hear, and decide all interlocutory matters;
        − Conduct jury or non−jury trials;
        − Enter final orders and judgment; and
        − Decide all post−trial motions.

Appeals from any final order or judgment entered by a Magistrate Judge are directly to the United States
Court of Appeals for the Ninth Circuit. See 28 U.S.C. § 636(c)(3); Fed. R. Civ. P. 73(c). However, a
Magistrate Judge's exercise of this jurisdiction is permitted only if all parties voluntarily consent.

                                           How Does It Benefit Me?

Speedy trial rights in felony criminal cases require the District's two District Judges to give priority to trying
those cases, sometimes requiring that civil trial dates be moved. Magistrate Judges do not preside over
felony criminal trials. As a result, a Magistrate Judge's trial docket is generally less crowded than those of
the District Judges.

Magistrate Judges usually are able to provide earlier and firmer dates for both hearings and trials than might
otherwise be possible by a District Judge. Because this District is very busy and the criminal docket is
growing rapidly, consenting to proceed before a Magistrate Judge often means your civil case will be
resolved more quickly than if before a District Judge.

Additionally, even if parties do not consent, the District Judge to whom the matter is assigned may
nonetheless refer all pre−trial proceedings to a Magistrate Judge pursuant to 28 U.S.C. § 636(b), FRCP 73,
and Local Rule 72.1. For any dispositive matters so referred, the Magistrate Judge will enter a Report and
Recommendation for the District Judge's consideration. At that point, the review process by a District Judge
generally takes 60 days. Thus, by consenting to Magistrate Judge jurisdiction at the outset, the parties also
can avoid the delays and expense of this review process, while still preserving their appeal rights.

                                              How Do I Consent?

After the case is filed, the Clerk of the Court will send the appropriate notice and consent form as provided
by the General Order. The consent form affords each party an initial opportunity to consent to having a
Magistrate Judge assume complete jurisdiction over the case, including trial and entry of judgment. Each
party should make a decision whether to consent to or decline Magistrate Judge jurisdiction as soon as
possible. The parties may also file a joint consent, similar to a stipulation, at any time.

You may, without adverse substantive consequences, withhold your consent, which would preclude
Magistrate Judge jurisdiction. If any party withholds consent, the identity of the parties consenting and/or
withholding consent will not be communicated to any Judge.


___________________________________
    1. This insert is for information purposes only and is not intended to supersede the applicable rules,
including General Order No. 324, addressing the consent process.
